             Case 1:24-cv-00686-JPC Document 5 Filed 02/01/24 Page 1 of 2




FRANGIE ESPINAL, ON BEHALF OF HERSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                 Civil Action No. 1:24-cv-0686




SUGARMDS, LLC,




                        SUGARMDS, LLC
                        178 SE Via Lago
                        Port Saint Lucie, FL 34952




                        Dana L. Gottlieb, Esq.
                        Gottlieb & Associates PLLC
                        150 East 18th Street, Suite PHR
                        New York, NY 10003
                        (212) 228-9795




      2/1/2024                                            /s/ J. Gonzalez
 Case 1:24-cv-00686-JPC Document 5 Filed 02/01/24 Page 2 of 2


1:23-cv-
